                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

 WALTON TENNESSEE, LLC, et al.,                  )
                                                 )
                 Plaintiffs,                     )
                                                 )
                     v.                          )    Civil Action No. 3:24-cv-01308
                                                 )
 JONATHAN SKRMETTI, in his official              )    District Judge Eli J. Richardson
 capacity as the Tennessee Attorney              )    Magistrate Judge Barbara D. Holmes
 General & Reporter, et al.,                     )
                                                 )
                          Defendants.            )


    PLAINTIFFS’ NOTICE OF WITHDRAWAL OF MOTION FOR PRELIMINARY
              INJUNCTION AND SUPPORTING MEMORANDUM

       Plaintiffs Walton Tennessee, LLC (“Walton Tennessee”); Stephen Misch, individually and

as beneficiary and trustee of the Misch, Stephen John Burrus Ridge Revocable Trust; Jason Vance,

individually and as beneficiary and trustee of the Vance, Jason Floyd Burrus Ridge Revocable

Trust and as beneficiary and trustee of the Vance, Jason Floyd Cane Ridge Landing Revocable

Trust; and Alessandro Silvestroni, individually and as beneficiary and trustee of the Silvestroni,

Alessandro Burrus Ridge Revocable Trust and as beneficiary and trustee of the Silvestroni,

Alessandro Cane Ridge Landing Revocable Trust, hereby submit this Notice of Withdrawal of

Plaintiffs’ Motion for Preliminary Injunction (Dkt. 25) and Supporting Memorandum (Dkt. 26-1,

which was later entered as Dkt. 35) (collectively referred to as the “Motion”).

       On November 14, 2024, Plaintiffs moved to preliminarily enjoin Defendants, each sued in

their official capacities, from enforcing Public Chapter 995 against Plaintiffs and Walton

Tennessee’s principals for their previously acquired land interests in Tennessee. See Dkt. 25; see

also Dkt. 24 at ¶ 25 (Amended Complaint, identifying those land interests).




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         In response to Plaintiffs’ Motion, Defendants made clear that “the divestment,

escheatment, and criminal provisions of [Public Chapter 995] do not apply to land holdings

acquired by [Plaintiffs and Walton Tennessee’s principals] before January 1, 2025,” Dkt. 31 at 14,

because these provisions of Public Chapter 995 “appl[y] prospectively,” id. at 42. Defendants

reiterated that “the Act does not ban [Plaintiffs] from continuing to own their previously acquired

land interests in Tennessee or require them to divest those interests.” Id. at 20. Defendants also

represented that, based on the facts as alleged in the Amended Complaint and as stated in the

Motion, “Plaintiffs certainly have not shown that the prosecution of any Plaintiff by any of the

District Attorney Defendants or the institution of an escheatment action by the Attorney General

against their ownership interests is imminent or realistically possible in the foreseeable future.” Id.

at 22.

         In reliance on the representations made in Defendants’ brief, Plaintiffs are withdrawing

their Motion. Plaintiffs reserve the right to refile their request for preliminary injunctive relief

should Defendants or their successors change their position.




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Dated: December 12, 2024                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, the undersigned, do hereby certify that on December 12, 2024, a true and correct copy of

the foregoing has been served on counsel below for all Defendants through operation of the Court’s

electronic filing system and, by agreement with counsel for Defendants, email:

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                                             /s/ Connor M. Blair
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